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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 ANTHONY PERRY,                                   )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                            Civil Action No. 17-1932 (TSC)
                                                  )
 WILBUR ROSS,                                     )
 Secretary of Commerce, et al.,                   )
                                                  )
                Defendants.                       )
                                                  )

                  MOTION FOR A STAY AND EXTENSION OF TIME
                    IN LIGHT OF LAPSE OF APPROPRIATIONS

       Pursuant to Federal Rule of Civil Procedure (“Rule”) 6 and by and through their

undersigned counsel, Defendant Wilbur Ross named in his official capacity as the Secretary of

Commerce (“Commerce”), respectfully moves to stay this action and to extend and hold in

abeyance all pending deadlines until further order of the Court. Undersigned attempted to contact

pro se Plaintiff regarding this Motion but did not receive a response as of filing. The grounds for

this Motion are as follows.

       At the end of the day on December 21, 2018, the appropriations act that had been funding

the Department of Justice (“DOJ”) expired and appropriations to DOJ lapsed. Undersigned

counsel understands that funding for Commerce has similarly lapsed. DOJ does not know when

funding will be restored by Congress. Absent appropriated funds, DOJ attorneys, including the

Assistant United States Attorney assigned to this matter, are prohibited from working, even on a

voluntary basis, except in very limited circumstances, including “emergencies involving the safety

of human life or the protection of property.” 31 U.S.C. § 1342.
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       Accordingly, Commerce, through undersigned counsel (who is the supervisor of the

Assistant United States Attorney assigned to this matter), respectfully requests that this action be

stayed during the lapse in appropriations and that the Court extend and hold in abeyance all

deadlines in this action pending further order of the Court. Commerce further proposes that the

parties file a joint status report 14 days after funding has been restored to DOJ and Commerce

containing the parties’ proposals for further proceedings in this matter.

                                         CONCLUSION

       For the foregoing reasons, Commerce respectfully requests that this action be stayed and

that deadlines be extended as set forth above. A proposed order is enclosed herewith.

Dated: January 22, 2019
       Washington, DC
                                                Respectfully submitted,

                                                JESSIE K. LIU, D.C. Bar #472845
                                                United States Attorney

                                                DANIEL F. VAN HORN, D.C. Bar #924092
                                                Chief, Civil Division


                                                By:           /s/
                                                      BRIAN P. HUDAK
                                                      Deputy Chief, Civil Division
                                                      Assistant United States Attorney
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                                                      Washington, DC 20530
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                                                Attorneys for the United States of America




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 22nd day of January 2019, I caused a true and correct

copy of the foregoing to be served on pro se plaintiff by first-class mail to:

                                       ANTHONY PERRY
                                     5907 Croom Station Road
                                    Upper Marlboro, MD 20772


                                                              /s/
                                                   BRIAN P. HUDAK
                                                   Deputy Chief, Civil Division
                                                   555 Fourth Street, NW
                                                   Washington, DC 20530
                                                   (202) 252-2549
